    Case 2:05-cv-04182-SRD-JCW Document 19256-1 Filed 09/09/09 Page 1 of 4




                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

IN RE: KATRINA CANAL BREACHES                                                   CIVIL ACTION
CONSOLIDATED LITIGATION
                                                                                NO.: 05-4182

                                                                                SECTION “K” (2)

FILED IN:       05-4181, 05-4182, 05-4191, 05-4568, 05-5237, 05-6073,
                05-6314, 05-6324, 05-6327, 05-6359, 06-0020, 06-1185,
                06-0225, 06-0886, 06-11208, 06-2278, 06-2287, 06-2346,
                06-2545, 06-3529, 06-4065, 06-4389, 06-4634, 06-4931,
                06-5032, 06-5042, 06-5159, 06-5163, 06-5367, 06-5471,
                06-5771, 06-5786, 06-5937, 06-7682, 07-0206, 07-0647,
                07-0993, 07-1284, 07-1286, 07-1288, 07-1289

PERTAINS TO: LEVEE AND MRGO


          NOTICE OF FILING AMENDED CLASS SETTLEMENT AGREEMENT

         NOW INTO COURT come Class Counsel1 and counsel for Settling Defendants, who

hereby serve Notice that they are filing into the record of these matters, in accordance with this

Court’s Order granting Joint Motion for Court Approval of Modification of Class Settlement

Agreement (Document 19118, filed 07/10/2009), the Amended Class Settlement Agreement,

with exhibits, attached as in globo Exhibit “1” hereto.


1
 Except as otherwise expressly provided below or as the context otherwise requires, all capitalized terms
used in this motion shall have the meanings and/or definitions given them in the Amended Class
Settlement Agreement, the original of which, together with all exhibits, is attached hereto as in globo
Exhibit “1”.



NO.99972259.1                                      1
   Case 2:05-cv-04182-SRD-JCW Document 19256-1 Filed 09/09/09 Page 2 of 4




                                   Respectfully submitted,

                                   LAW OFFICES OF JOSEPH M. BRUNO

                                                 /s/ Joseph M. Bruno
                                   By:    ____________________________________
                                          Joseph M. Bruno (#3604)
                                          855 Baronne Street
                                          New Orleans, Louisiana 70113
                                          Telephone:   (504) 525-1335
                                          Facsimile:   (504) 561-6775
                                          E-Mail:      jbruno@jbrunolaw.com

                                   ON BEHALF OF CLASS COUNSEL, AND AS
                                   LIAISON COUNSEL FOR LEVEE AND MR-GO
                                   PLAINTIFF    SUBGROUP     LITIGATION
                                   COMMITTEES

                                   GAINSBURGH, BENJAMIN, DAVID, MEUNIER
                                   & WARSHAUER, L.L.C.

                                                 /s/ Gerald E. Meunier
                                   By:    ____________________________________
                                          Gerald E. Meunier (#9471)
                                          2800 Energy Centre
                                          1100 Poydras Street
                                          New Orleans, Louisiana 70163-2800
                                          Telephone:    (504) 522-2304
                                          Facsimile:    (504) 528-9973

                                   LIAISON COUNSEL FOR LEVEE-PLAINTIFF
                                   SUBGROUP LITIGATION COMMITTEE

                                   DOMENGEAUX WRIGHT ROY & EDWARDS

                                                 /s/ James P. Roy
                                   By:    ____________________________________
                                          James P. Roy (#11511)
                                          556 Jefferson Street
                                          Lafayette, Louisiana 70502
                                          Telephone:     (337) 593-4190
                                          Facsimile:     (337) 233-2796




NO.99972259.1                         2
   Case 2:05-cv-04182-SRD-JCW Document 19256-1 Filed 09/09/09 Page 3 of 4




                                   LIAISON COUNSEL FOR MR-GO-PLAINTIFF
                                   SUBGROUP LITIGATION COMMITTEE


                                   McCRANIE, SISTRUNK, ANZELMO, HARDY,
                                   MAXWELL & McDANIEL

                                               /s/ Thomas P. Anzelmo
                                   By:   ____________________________________
                                         Thomas P. Anzelmo, (#2533)
                                         3445 N. Causeway Boulevard, Suite 800
                                         Metairie, Louisiana 70002
                                         Telephone:     (504) 831-0946
                                         Facsimile:     (504) 831-2492

                                   ATTORNEYS   FOR    THE  BOARD    OF
                                   COMMISSIONERS FOR THE ORLEANS LEVEE
                                   DISTRICT AND THE ORLEANS LEVEE
                                   DISTRICT

                                   DUPLASS, ZWAIN, BOURGEOIS, PFISTER &
                                   WEINSTOCK

                                               /s/ Gary M. Zwain
                                   By:   ___________________________________
                                         Gary M. Zwain, (#13809)
                                         Three Lakeway Center, Suite 2900
                                         3838 N. Causeway Boulevard
                                         Metairie, Louisiana 70002
                                         Telephone:     (504) 832-3700
                                         Facsimile:     (504) 837-3119

                                   ATTORNEYS    FOR   THE   BOARD     OF
                                   COMMISSIONERS    FOR     THE     EAST
                                   JEFFERSON LEVEE DISTRICT, THE EAST
                                   JEFFERSON LEVEE DISTRICT, THE BOARD
                                   OF COMMISSIONERS FOR THE LAKE
                                   BORGNE BASIN LEVEE DISTRICT, AND THE
                                   LAKE BORGNE BASIN LEVEE DISTRICT




NO.99972259.1                        3
   Case 2:05-cv-04182-SRD-JCW Document 19256-1 Filed 09/09/09 Page 4 of 4




                                                  LUGENBUHL, WHEATON, PECK, RANKIN &
                                                  HUBBARD

                                                                  /s/ Ralph S. Hubbard, III
                                                  By:     ____________________________________
                                                          Ralph S. Hubbard III (#7040)
                                                          601 Poydras Street, Suite 2775
                                                          New Orleans, Louisiana 70130
                                                          Telephone:    (504) 568-1990
                                                          Facsimile:    (504) 310-9195

                                                  And

                                                  PHELPS DUNBAR, L.L.P.

                                                                  /s/ S. Ault Hootsell III
                                                  By:     ____________________________________
                                                          S. Ault Hootsell III (#17630)
                                                          Canal Place
                                                          365 Canal Street, Suite 2000
                                                          New Orleans, Louisiana 70130-6534
                                                          Telephone:    (504) 566-1311
                                                          Facsimile:    (504) 568-9130

                                                  ATTORNEYS FOR ST. PAUL FIRE AND
                                                  MARINE INSURANCE COMPANY


                                     CERTIFICATE OF SERVICE

         I certify that a copy of the foregoing Notice has been electronically filed with the Clerk of Court

by using the CMECF system which will send a notice of electronic filing to all counsel of record this 3 rd

day of September, 2009.


                                                  /s/ S. Ault Hootsell III
                                                  __________________________________________




NO.99972259.1                                        4
